Case 1:20-cv-21588-CMA Docunt@6ERAVEEOESERMICED Docket 05/05/2020 Page 1 of 2

UNITED STATES DISTRICT COURT
Southern District of Florida

Case Number: 1:20-CV-21588-CMA

Plaintiff:
Mark Pitzo

VS.

Defendant:
Carnival Corporation d/b/a Carnival Cruise Lines

For:

MARK KELLEY SCHWARTZ
DRIGGERS, SCHULTZ & HERBST
2600 W. BIG BEAVER ROAD
SUITE 550

TROY, MI 48084

Received by AMS PROCESS SERVICE, INC. on the 22nd day of April, 2020 at 4:54 pm to be served on CARNIVAL CORPORATION
D/B/A CARNIVAL CRUISE LINES C/O NRAI SERVICES, INC., REGISTERED AGENT, 1200 S PINE ISLAND RD., PLANTATION, FL
33324.

|, CHRIS YEOMAN, being duly sworn, depose and say that on the 23rd day of April, 2020 at 1:35 pm, I:

SERVED the within named corporation by delivering a true copy of the Summons in a Civil Action and Complaint and Demand for
Jury Trial at the address of 1200 S PINE ISLAND RD., PLANTATION, FL 33324 with the date and hour endorsed thereon by me to,
LISA HOWARD, INTAKE SPECIALIST as an employee of the Registered Agent listed with the Florida Division of Corporation,
pursuant to F.S. 48.081 (3)(a).

| certify that | am over the age of 18, have no interest in the above action, and am a Special Process Server, in good standing, in the
judicial circuit in which the process was served and have proper authority in the jurisdiction in which this service was made. Under
penalties of perjury, | declare that | have read the foregoing document and that the facts stated in it are true, to the best of my
knowledge and belief F.S. 92.525 Verification of documents.

RIS YEQ@MAN
fore me on the Q3 day SPS oo

by the affiant who is

 
 

   
 
 
 
  

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of

persohaily known to me, AMS PROCESS SERVICE, INC.
6131 ISLAND HARBOR ROAD
SEBASTIAN, FL 32958

(305) 934-2687

  

, LYNN REICH
: Notary Public - State of Florida

Commission # GG 255266 i

“fee” My Comm. Expires Sep 4, 2022
Bonded through National Notary Assn.

Our Job Serial Number: CIZ-2020005989
Ref: 88

  
 

     
   

6&0 Database Services, Inc. - Process Server's Toolbox V8.1g

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AO 440 (Rev. 06/12) Summons in a Civil Action
UNITED STATES DISTRICT COURT 4/23/20 [: “pm
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Lisa Howard 9.

 

 

Southern District of Florida Z
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MARK PITZO 5 ‘go oh CYA. auth
CSP F262.
- Plaintiffs) —
¥v, ; Civil Action No. 1:20-cv-21588-CMA

CARNIVAL CORPORATION )
d/b/a CARNIVAL CRUISE LINES )
)
. - )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Carnival Corporation
d/b/a Carnival Cruise Lines
c/o NRAI Services, Inc., Registered Agent
1200 South Pine Island Road
Plantation, FL 33324

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Mark Kelley Schwartz
DRIGGERS, SCHULTZ & HERBST
2600 W. Big Beaver Road, Suite 550
Troy, MI 48084

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SUMMONS

s/ P. Curtis

Deputy Clerk
U.S. District Courts

Date: __APr 19, 2020.

 

Angela E. Noble
Clerk of Court
